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                                                                          5                             IN THE UNITED STATES DISTRICT COURT
                                                                          6                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                              IN RE: CATHODE RAY TUBE (CRT)                     )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                              )
                                                                                                                                )   Case No. 07-cv-5944 JST
                                                                          9                                                     )
                                                                                                                                )   ORDER SETTING STATUS
                                                                         10   This Order Relates To:                            )   CONFERENCE
                               For the Northern District of California
United States District Court




                                                                                                                                )
                                                                         11   All Direct Action Plaintiffs;                     )
                                                                              All Indirect Purchaser Actions                    )
                                                                         12                                                     )
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                                                                         14          The Court will conduct a status conference on September 20, 2016 at 2:00 p.m. An updated
                                                                         15   Joint Case Management Statement is due on September 12, 2016 by 5:00 p.m.
                                                                         16          IT IS SO ORDERED.
                                                                         17   Dated: June 27, 2016
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                                                                                                                                          JON S. TIGAR
                                                                         20                                                         United States District Judge

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